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              UNITED STATES DISTRICT COURT                                                  -DOC#:
              SOUTHERN DISTRICT OF NEW YORK                                                ··DATE FIL}- t
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              ALLIED WORLD ASSURANCE COMP ANY,
              LTD,                                                               ORDER DENYING MOTION TO
                                                                                 STAY
                                                          Petitioner,
                           -against-                                             17 Civ. 8721 (AKH)

              AMUR FINANCE I LLC,

                                                          Respondent.

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          ALVIN K. HELLERSTEIN, U.S.D.J.:
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                               Allied World Assurance Company, LTD ("Petitioner" or "Allied World") filed

          this petition to recognize, confirm and enforce a foreign arbitration award on November 9, 2017.

          The petition is based on a series of arbitration decisions, rendered by the London Court of

          International Arbitration, ruling in petitioner's favor on the merits and directing Amur Finance I

          LLC ("Respondent" or "Amur Finance") and Bank ofUtah 1 to pay petitioner's attorneys' fees

          and costs. On January 18, 2018, respondent filed a motion to stay these proceedings pending the

          resolution of a parallel petition filed against Bank of Utah in the United States District Court for

          the District of Utah. For the reasons stated herein, the motion is denied.

                                                                 Background

                               This case arises out of an insurance coverage dispute between Allied World, an

          insurance company, and Amur Finance and Bank of Utah, the insured parties. The underlying

          dispute concerns two 2002 Bell 407 helicopters, owned by Amur Finance and placed into a trust

          held by Bank of Utah, in its capacity as owner trustee. The helicopters were leased to a third



          1   Bank of Utah is not a party in this case.
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party, and Allied World entered into a trade credit insurance policy with Amur Finance and Bank

of Utah that would insure them against non-payment under the lease. When the third-party

lessee defaulted, Amur Finance and Bank of Utah sought coverage from Allied World under the

terms of the insurance policy. Allied World denied coverage, and Amur Finance and Bank of

Utah commenced arbitration in London, England in 2015.

               For reasons not relevant to the disposition of this motion, the three-member

arbitration tribunal issued a Partial Award in favor of Allied World on the merits. The tribunal

later issued a Final Award directing Amur Finance and Bank of Utah to pay Allied World's

attorneys' fees and costs associated with the arbitration, jointly and severally, in the amount of

£140,000 plus $228,000, within 30 days of the date of the Final Award. See Baker Declaration,

ECF 6, Ex. C, at 16. When Amur Finance and Bank of Utah did not comply, Allied World filed

this petition seeking to convert the Final Award into an enforceable judgment. On the same day

this petition was filed, Allied World filed a materially identical petition against Bank of Utah in

Federal District Court in Utah, where Bank of Utah would be subject to personal jurisdiction.

The pendency of the Utah action gave rise to this motion to stay the proceedings.

                                            Discussion

               Because petitioner is seeking to enforce an arbitration award rendered in a foreign

state, confirmation is governed by the Convention on the Recognition and Enforcement of

Foreign Arbitral Awards, June 10, 1958, 21 U.S.T. 2517, 330 U.N.T.S. 53, as implemented by

the Federal Arbitration Act ("FAA"), 9 U.S.C. §§ 201-08. In such a case, the "district court's

role ... is strictly limited," and "the showing required to avoid summary confirmance is high."

Compagnie Noga D'Importation et D'Exportation, S.A. v. Russian F'ed'n, 361 F.3d 676, 683 (2d

Cir. 2004) (internal quotation marks omitted) (quoting Yusuf Ahmed Alghanim & Sons, WL.L. v.

Toys "R" Us, Inc., 126 F.3d 15, 19, 23 (2d Cir.1997)). The party opposing enforcement bears



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the burden of showing that one of the FAA's listed grounds for refusing to recognize an award is

met. See 9 U.S.C. § 207; see also Compagnie Noga, 361 F.3d at 683.

                    The merits of this case, however, are not before me, because rather than opposing

enforcement based on the grounds set out in the FAA, respondent filed the instant motion to stay

the proceedings until the Utah District Court rules on a motion to dismiss or alternatively transfer

the Utah case to this Court. It is well settled that"[ a]s part of its general power to administer its

docket, a district court may stay or dismiss a suit that is duplicative of another federal court suit."

Curtis v. Citibank, NA., 226 F.3d 133, 138 (2d Cir. 2000). In considering a motion to stay in a

case of this kind, courts consider the following factors:

                    (1) the private interests of the plaintiffs in proceeding
                    expeditiously with the civil litigation as balanced against the
                    prejudice to the plaintiffs if delayed; (2) the private interests of and
                    burden on the defendants; (3) the interests of the courts; (4) the
                    interests of persons not parties to the civil litigation; and (5) the
                    public interest.

Frilando v. Dutchess Sch. of Driving, Inc., No. 15 CV 3972 (VB), 2016 WL 9503817, at *1

(S.D.N.Y. Apr. 18, 2016) (internal quotation marks omitted) (quoting Kappel v. Comfort, 914

F.Supp. 1056, 1058 (S.D.N.Y. 1996)).

                    Applying these factors, I conclude that a stay is not warranted. The issues

currently being litigated in Utah, touching on whether under Utah law Bank of Utah may be sued

in its capacity as a trustee, rather than in its individual capacity, are unrelated to this case. See

Allied World Assurance v. Bank of Utah, 17-cv-1188 (RJS) (D. Utah), dkt. 4. 2 The resolution of

that issue, scheduled to be argued to Judge Shelby on May 24, 2018, has no bearing on the merits

of the instant petition.




2   Bank of Utah altemat.ively moved to transfer the case to this Court.

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                                     Moreover, respondent will suffer no prejudice from proceeding to the merits in

                     this case, and judicial economy would not be served by entering a stay. The Utah litigation is

                     proceeding against a different party, and apart from the fact that Amur Finance and Bank of

                     America share litigation counsel, respondent has identified no reason why it would be prejudiced

                     if a stay is not granted in this case. The prospect of inconsistent judgments is marginal in a

                     summary proceeding of this kind, and a decision in the Utah case "would not dispose of any

                     issues in this litigation, result in controlling law, or have binding effect in this case." Frilando,

                     2016 WL 9503817, at *2. Petitioner has an interest in expeditiously resolving its claim, and a

                     stay would serve no purpose apart from delaying a decision on the merits.



                                     For the reasons stated herein, the motion is denied. If respondent wishes to

                     challenge the petition to recognize, confirm and enforce the arbitration award, respondent shall

                     do so by May 11, 2018. Opposition papers are due May 25, 2018. Any reply brief is due June 1,

                     2018. The clerk is instructed to terminate the motion (ECF 14). The oral argument, currently

                     scheduled for May 23, 2018, is cancelled.




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                                     SO ORDERED.

                     Dated:          ApriiJI?,2018                      //0,V---, /
                                     New York, New York                       LVIN K. HELLERSTEIN
                                                                             United States District Judge




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